Case 1:08-cr-00078-IMK-MJA Document 1288 Filed 11/16/15 Page 1 of 6 PageID #: 5747
Case 1:08-cr-00078-IMK-MJA Document 1288 Filed 11/16/15 Page 2 of 6 PageID #: 5748
Case 1:08-cr-00078-IMK-MJA Document 1288 Filed 11/16/15 Page 3 of 6 PageID #: 5749
Case 1:08-cr-00078-IMK-MJA Document 1288 Filed 11/16/15 Page 4 of 6 PageID #: 5750
Case 1:08-cr-00078-IMK-MJA Document 1288 Filed 11/16/15 Page 5 of 6 PageID #: 5751
Case 1:08-cr-00078-IMK-MJA Document 1288 Filed 11/16/15 Page 6 of 6 PageID #: 5752
